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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

  IN RE: VALSARTAN LOSARTAN, MDL No. 2875
  AND IRBESARTAN PRODUCTS
  LIABILITY LITIGATION       Honorable Renée Marie Bumb,
                             District Judge




  This Documents Relates to All Actions


       DEFENDANT ZHP’S RESPONSE TO PLAINTIFFS’ PROPOSED
     FINDINGS OF FACT IN ACCORDANCE WITH SPECIAL MASTER
                          ORDER NO. 98
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        Defendant Zhejiang Huahai Pharmaceutical Co., Ltd. (“ZHP”) hereby

  submits its responses to Plaintiffs’ proposed findings of fact in accordance with

  Special Master Order No. 98 (“SMO 98”).

        As a preliminary matter, ZHP generally objects to Special Master Order No.

  98 on the merits and reserves all rights to challenge the order in full. The Special

  Master has, however, ordered ZHP to respond to an “adverse inference” instruction

  proposed by Plaintiffs. ZHP objects to Plaintiffs’ submission because: (1) it goes

  beyond the sanctions authorized by the Special Master; and (2) the specific

  findings of fact proposed are contrary to the facts in the record in this litigation.

  I.    PLAINTIFFS’ PROPOSED FINDINGS OF FACT ARE NOT
        AUTHORIZED BY THE SPECIAL MASTER’S ORDER.

        As explained in ZHP’s forthcoming Objections to SMO No. 98, no adverse

  inference is appropriate in this case. Moreover, the instructions proposed by

  Plaintiffs are inherently improper because they go far beyond allowing the jury to

  make an “adverse inference” regarding the content of the allegedly missing

  discovery, and instead direct the jury to find in favor of Plaintiffs on the

  substantive merits of their claims.

        As courts have recognized, the language of an adverse inference instruction

  is “delineated [by] three levels . . . differing in severity based on the nature of the

  spoliating party’s conduct.” United States v. Suarez, No. 09-932, 2010 WL

  4226524, at *9 (D.N.J. Oct. 21, 2010) (citing Pension Comm. v. Banc of Am. Sec.,


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  LLC, 685 F. Supp. 2d 456 (S.D.N.Y. 2010) (abrogated in non-relevant part by Chin

  v. Port Auth. of N.Y. & N.J., 685 F.3d 135, 162 (2d Cir. 2012)). “In its most harsh

  form . . . a jury can be instructed that certain facts are deemed admitted and must

  be accepted as true.” Id. at *10. In addition, when a party has acted “willfully or

  recklessly” in its discovery obligations, “a court may impose a mandatory

  presumption,” though “[e]ven a mandatory presumption . . . is considered to be

  rebuttable.” Id. Finally, “[t]he least harsh instruction permits (but does not

  require) a jury to presume that the lost evidence is both relevant and favorable to

  the innocent party. If it makes this presumption, the spoliating party’s rebuttal

  evidence must then be considered by the jury, which must then decide whether to

  draw an adverse inference against the spoliating party.” Id.

        Here, the Special Master expressly recognized that ZHP’s alleged discovery

  conduct does not justify the extreme sanctions of deeming Plaintiffs’ allegations

  “admitted” or precluding “ZHP and its subsidiaries . . . from defending Plaintiffs’

  claims.” (ECF 2712 at 1.) To the contrary, the Special Master repeatedly stated

  that the evidence in the record favored the imposition of “lesser sanctions.” (Id. at

  33-36.) In authorizing an “adverse inference instruction,” the Special Master

  instead agreed to an instruction allowing the jury to conclude that the information

  that “Mr. Chen’s deposition and the requested documents would have provided

  would be adverse to ZHP.” (Id. at 36.)



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        Plaintiffs’ proposed instructions, by contrast, direct the jury to find in

  Plaintiffs’ favor on the key elements of their claims. Specifically, Plaintiffs

  propose instructing the jury that the “Court has made” various “findings of fact

  with regard to ZHP that you are required to accept as true in evaluating the

  evidence and reaching your verdict.” (ECF 2721-1 at 1.) Notably, the facts that

  Plaintiffs would have the jury “accept as true,” with no ability on the part of ZHP

  to offer rebuttal evidence, go to some of the most hotly-contested issues in the

  litigation, including whether ZHP was aware of the presence of nitrosamines in

  valsartan API prior to 2018 and whether ZHP actively took steps to conceal that

  information. As a result, Plaintiffs’ proposal is akin to a directed verdict in favor of

  Plaintiffs on the substantive merits of Plaintiffs’ claims. See Connecticut v.

  Johnson, 460 U.S. 73, 84 (1983) (“[A] conclusive presumption . . . is the functional

  equivalent of a directed verdict on that issue.”).

         For this reason alone, Plaintiffs’ proposed “findings of fact” should be

  rejected.

  II.   PLAINTIFFS’  PROPOSED    FINDINGS   OF  FACT                                 ARE
        INCONSISTENT WITH THE FACTS IN THE RECORD.

        In addition, all of Plaintiffs’ proposed “findings of fact” are either

  unnecessary because they are already established by evidence in the record or are

  improper because they are contrary to the evidence. As a result, ZHP objects to

  each of Plaintiffs’ proposed findings, as set forth more fully below:


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  PROPOSED FINDING OF FACT 1: Baohua Chen is the CEO and the highest-

  level executive in ZHP. (SMO 98, at 1-2).

  RESPONSE: ZHP objects to this instruction because the information at issue is

  available from the evidence produced during discovery and therefore does not

  require or warrant a factual finding by the Court based on the alleged unavailability

  of evidence. (See, e.g., Dep. of Jucai Ge 364:5-9, Apr. 30, 2021 (ECF 1900-5)

  (“Mr. Chen has been either the general manager or the chairman of the board since

  I joined the company. That position is the highest position in the companies. You

  know, our ZHP has many companies or subsidiaries.”).) Moreover, Mr. Chen’s

  title is not “CEO” but “President.” (See Dep. of Jie Wang 151:19-24, May 18,

  2021 (ECF 2569-5 at Ex. 117) (clarifying that Mr. Chen’s title was “president” and

  not “CEO” of ZHP).)

  PROPOSED FINDING OF FACT 2: Baohua Chen had direct involvement with

  issues central to this case. (SMO 98, at 3).

  RESPONSE: ZHP objects to this instruction because, to the extent there is any

  truth to it, that evidence is already available in the record. Specifically, there is

  available evidence demonstrating that Mr. Chen had involvement in the company’s

  response to the discovery of NDMA in ZHP’s valsartan API in 2018. (See Dep. of

  Min Li, Ph.D. 581:9-582:5, Apr. 22, 2021 (ECF 2663-12) (describing Mr. Chen’s

  general involvement following the discovery of NDMA in valsartan).) But the



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  proposed instruction is factually incorrect—and directly contradicted by the

  record—to the extent it suggests that Mr. Chen played an active role in the

  development of the manufacturing process for valsartan, which is the key issue in

  the case. Indeed, witnesses have repeatedly testified that Mr. Chen would not have

  knowledge of science issues related to the development or manufacture of

  valsartan API prior to the recall. (See, e.g., Dep. of Jucai Ge 364:22-365:8, Apr.

  30, 2021 (ECF 1900-5) (testifying that Mr. Chen “never was involved in specific

  product development or the drafting of documents like the deviation investigation

  or process control”); id. 364:9-14 (“Mr. Chen’s role is to formulate strategies and

  manage vice presidents. I don’t think he is involved in the day-to-day activities of

  the API of finished dose product manufacturing. Simply put, I don’t think he has

  any time for that.”).)

  PROPOSED FINDING OF FACT 3: Baohua Chen’s involvement and authority

  with respect to the development, manufacture, sale, and recall of ZHP’s Valsartan

  was substantial, and it is likely that Mr. Chen has personal, unique firsthand

  knowledge regarding the matters at issue in this case. (SMO 98, at 3).

  RESPONSE: ZHP objects to this instruction because it is false and contrary to the

  evidence in the record, as explained above. The evidence in the record establishes

  that Mr. Chen did not have any firsthand knowledge related to the scientific

  development, manufacture or sale of valsartan API, much less “unique” knowledge



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  not held by anyone else at the company. (See, e.g., Dep. of Jucai Ge 364:5-14,

  Apr. 30, 2021 (ECF 1900-5) (“I don’t think [Mr. Chen] is involved in the day-to-

  day activities of the API or finished dose product manufacturing. Simply put, I

  don’t think he has any time for that.”); id. 368:2-5 (“For the NDMA impurity

  investigation [in 2018], Mr. Chen never got involved in the root cause analysis,

  root cause investigation or creation of the deviation report. He never got

  involved.”).)

  PROPOSED FINDING OF FACT 4: During the course of discovery in this case,

  when the Parties were required to produce documents and conduct the depositions

  of witnesses, the Court ordered ZHP to produce Baohua Chen for his deposition by

  the Plaintiffs. ZHP violated the Court Order requiring ZHP to produce Mr. Chen

  for his deposition, and Mr. Chen was not produced for his deposition. This

  deprived the Plaintiffs of their right to take the deposition of Mr. Chen. (SMO 98,

  at 2-4, 10-13, 19-21, 25-26, 30, 32).

  RESPONSE: ZHP objects to this instruction because it misrepresents the facts

  relevant to the inability of ZHP to produce Mr. Chen, a Chinese citizen and

  resident, for deposition. To the extent any instruction regarding ZHP’s discovery

  conduct is appropriate, it should be revised as follows: “During the course of

  discovery in this case, when the Parties were required to produce documents and

  conduct the depositions of witnesses, the Court ordered ZHP to produce Baohua



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  Chen for his deposition by the Plaintiffs. Despite ZHP’s efforts to obtain

  permission from the government of China for Mr. Chen to travel outside of

  mainland China to provide deposition testimony, the government of China refused.

  As a result, ZHP was unable to produce Mr. Chen for his deposition and Mr. Chen

  was unable to testify.”

  PROPOSED FINDING OF FACT 5: During the course of discovery in this case,

  ZHP was also required by Court Orders to produce relevant documents, and failed

  to fully comply with those Court Orders. In addition to the failure to produce

  certain documents at all, documents that were produced were not produced in the

  required form. For example, ZHP was required by Court Orders to produce the

  July 27, 2017 email written by Jinsheng Lin, in its native form. The July 27, 2017

  email references ZHP’s knowledge that its Valsartan was contaminated with

  NDMA, in discussing the problems presented by the finding of another

  nitrosamine impurity in Irbesartan, a similar drug substance manufactured by ZHP

  with a similar process as used to manufacture Valsartan. The native form of the

  document is the primary electronic form of the document, including the metadata

  for the document, which is information embedded in an electronic document. The

  metadata would have included information about when the document was written,

  who it was sent and forwarded to and when, and other relevant information.

  Instead, ZHP only produced a copy of the July 27, 2017 email in PDF form,



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  without the metadata for the document. This deprived the Plaintiffs of their right to

  be provided the July 27, 2017 email in its primary electronic form with its

  metadata, so that the Plaintiffs could fully investigate and understand the email. In

  addition, despite the email being sent to numerous key personnel at ZHP, it was

  not produced in the custodial file for the author of the email, Jinsheng Lin, and was

  only produced in the custodial file of one of the numerous recipients of the email,

  Min Li. In addition, ZHP created an internal Irbesartan Report addressing ZHP’s

  investigation into the nitrosamine impurity found in Irbesartan referenced in the

  July 27, 2017 email. ZHP failed to produce all drafts of the Irbesartan Report, as

  required, and the single draft produced was not produced in its native, primary

  electronic form with its metadata. This deprived the Plaintiffs of their right to fully

  understand and investigate the report and ZHP’s internal investigation and decision

  making with regard to nitrosamine impurities in its sartan drug substances,

  including Valsartan. (SMO 98, at 4-10, 21-26, 32-33, 36-37).

  RESPONSE: ZHP objects to this instruction for a host of reasons.

        First, it would be improper to instruct the jury that ZHP “failed to fully

  comply” with “Court Orders to produce relevant documents” or to offer any

  instruction regarding the non-production of documents because these statements

  are contrary to the record. ZHP’s counsel has certified that ZHP produced all

  responsive documents in its possession that were ordered produced by the Court.



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  Specifically, on October 21, 2022, ZHP’s counsel executed and provided plaintiffs

  with a certification that included, inter alia: (1) an attestation that counsel had

  personally investigated the steps taken to identify the whereabouts of the four

  categories of documents discussed in SMO 54; (2) an attestation that counsel had

  confirmed that the searches were conducted in manner consistent with the Rules;

  (3) an exhibit (Exhibit 1) listing the “Bates numbers of the relevant, non-privileged

  parts of Ms. Kong’s custodial file” produced to Plaintiffs; (4) an attestation that an

  electronic version of ZHP02710347 was not found following “appropriate steps,

  consistent with the Rules, . . . taken to locate an electronic version”; (5) an exhibit

  (Exhibit 2) listing “the Bates numbers of TC-201729 Documents” located; and (6)

  an exhibit (Exhibit 3) listing the Bates numbers of the requested batch testing

  records that were produced. (See generally Certification of Richard T. Bernardo,

  Oct. 21, 2022 (attached to Oct. 21, 2022 Email from R. Bernardo to A. Slater & C.

  Geddis) (“Bernardo Certification”) (attached collectively as Ex. 1 to the

  Certification of Jessica Davidson).) In light of this sworn statement regarding

  compliance with the Court’s document discovery orders, it would be entirely

  inappropriate to instruct the jury that document discovery was incomplete. This is

  particularly true given that ZHP and its affiliates have produced almost 400,000

  documents totaling more than 3.5 million pages, which were collected from more

  than 90 custodians using more than 400 search terms identified by Plaintiffs. (Id.



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  at 14 n.7.) This includes nearly 1,200 documents from Ms. Kong’s file. (Ex. 1 to

  Bernardo Certification.)

        Second, an instruction that ZHP improperly deprived Plaintiffs of the

  metadata for the July 27, 2017 email contradicts SMO 54 (ECF 1753). In that

  Order, the Special Master: (1) noted that Plaintiffs had not sought spoliation

  sanctions with regard to electronic versions of the July 27 email; (2) concluded that

  ZHP had “provided a credible explanation for the date-created anomaly on the July

  27, 2017 email; (3) noted that there was “no testimony . . . that there was a failure

  to follow litigation hold advice” with respect to the email; and (4) explained there

  was no “evidence of the loss of any particular data.” (SMO No 54 at 4 (ECF

  1753).) Indeed, “[g]iven the extensive discovery that has occurred to date and the

  lack of direct evidence of document destruction or loss,” the Special Master

  refused to require ZHP “to conduct another search for relevant evidence,”

  including additional copies of the July 27, 2017 email. (Id.)

        Third, there is no evidence in the record to support Plaintiffs’ proposed

  instruction that “[t]he July 27, 2017 email references ZHP’s knowledge that its

  Valsartan was contaminated with NDMA, in discussing the problems presented by

  the finding of another nitrosamine impurity in Irbesartan, a similar drug substance

  manufactured by ZHP with a similar process as used to manufacture Valsartan.”

  (ECF 2721-1, ¶ 5.)



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        Courts have recognized that an adverse inference instruction must be

  logically linked to the discovery violation at issue such that it is reasonable to

  assume that the missing evidence would have contained the information the jury is

  permitted to infer. See Emerson v. Wetherill, No. CIV. 92-4082, 1994 WL

  249769, at *3 (E.D. Pa. June 1, 1994) (rejecting adverse inference that a party

  “committed prior acts of misconduct” as a sanction for the loss of documents

  because “no reasonable jury could infer that the destroyed documents contained

  such information”). Plaintiffs lack any support for the assertion that Mr. Chen had

  knowledge about the July 27, 2017 email such that his deposition testimony would

  have established that the email indicates that ZHP knew there were nitrosamines in

  valsartan API as of 2017. As an initial matter, the July 27, 2017 email was not sent

  to Mr. Chen. (See generally ECF 2038-5 (ZHP00190573).) In addition, the

  testimony of those individuals to whom the email was sent makes clear that Mr.

  Chen neither received it, nor was informed of it, prior to its production in this case.

  (See, e.g., Dep. of Lihong (Linda) Lin 96:5-21, May 4, 2021 (ECF 2663-27 at Ex.

  1) (Ms. Lin testifying that she did not inform Mr. Chen of Dr. Lin’s July 27 email

  and that it would be her expectation that “issues such as handling the wastewater

  would not be reported to Mr. Baohua Chen”); Dep. of Min Li, Ph.D. 598:9-599:19,

  Apr. 22, 2021 (ECF 2663-12) (Dr. Li testifying that he believes Mr. Chen was not

  informed of the July 27 email).) Given this evidence, there is absolutely no basis



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  to presume that Mr. Chen had any information about the meaning of the July 27,

  2017 email’s substantive content that would have come out at his deposition.

        The same is true of Plaintiffs’ false assertion that a copy of the “July 27,

  2017 email in its primary electronic form with its metadata” could offer insight

  regarding the substance and meaning of the email. The metadata of an email

  contains technical, electronic information; it says nothing about the meaning of the

  content of the email or the message it was intended to convey. And metadata

  certainly could not establish that the email proves that ZHP knew about the

  presence of nitrosamines in valsartan API as of the date of the email, which is what

  Plaintiffs want the Court to direct the jury to assume.

  PROPOSED FINDING OF FACT 6: The Court has determined that Baohua

  Chen’s deposition testimony and the documents ZHP failed to produce as required

  would have provided information that would have been adverse to ZHP, and would

  have favored the Plaintiffs. (SMO 98, at 33-34, 36-39).

  RESPONSE: ZHP objects to this instruction. To the extent any instruction

  regarding ZHP’s discovery conduct is appropriate, which ZHP disputes, the

  instructions should be revised as follows: “The jury may presume that Mr. Chen’s

  deposition testimony would have been favorable to Plaintiffs, but the jury is

  permitted to consider rebuttal evidence offered by ZHP and determine whether to

  draw such an adverse inference regarding the content of Mr. Chen’s testimony.”



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  PROPOSED FINDING OF FACT 7: The Court has determined that ZHP, at

  Baohua Chen’s direction, covered up and prevented the disclosure of ZHP’s actual

  knowledge of the nitrosamine contamination of ZHP’s Valsartan from at least July

  27, 2017 until ZHP’s customer Novartis discovered the contamination and

  informed ZHP of its discovery in June, 2018. ZHP then disclosed the

  contamination. (SMO 98, at 36-39.)

  RESPONSE: ZHP objects to this instruction. As noted in detail in Response to

  Proposed Finding of Fact 5, there is no evidence in the record that Mr. Chen’s

  deposition testimony—or any of the document discovery at issue—would have

  included information indicating that ZHP, at Mr. Chen’s direction, covered up and

  prevented the disclosure of ZHP’s actual knowledge of nitrosamines in ZHP’s

  valsartan API as of July 27, 2017. Thus, there is no basis to assert that the

  allegedly missing evidence would have established that the July 27, 2017 email

  informed Mr. Chen, or anyone else at ZHP, that valsartan API contained

  nitrosamines. Nor is there any logical basis to assert that ZHP or Mr. Chen

  actively concealed that information.

  PROPOSED FINDING OF FACT 9: The Court has determined that ZHP

  violated its Court ordered legal obligations to produce Baohua Chen for his

  deposition and produce documents as required because ZHP and Mr. Chen knew of

  the nitrosamine contamination of ZHP’s Valsartan at least as of July 27, 2017, and



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  at Mr. Chen’s direction covered up and prevented disclosure of the nitrosamine

  contamination until ZHP’s customer Novartis discovered the contamination and

  informed ZHP of its discovery in June, 2018. ZHP then disclosed the

  contamination. (SMO 98, at 36-39.)

  RESPONSE: ZHP objects to this instruction for similar reasons set forth with

  respect to Proposed Findings of Fact 4, 5 and 8. As noted above, there is no

  evidence in the record that Mr. Chen’s deposition testimony—or any document

  discovery at issue—would include information indicating that ZHP or Mr. Chen

  had knowledge of the nitrosamines in ZHP’s valsartan API as of July 27, 2017,

  much less that ZHP or Mr. Chen covered up that information. Nor is there any

  evidence that ZHP affirmatively precluded Mr. Chen from testifying—or

  prevented the production of documents—for the purpose of withholding relevant

  information regarding the July 27, 2017 email from Plaintiffs. To the contrary, any

  fair instruction regarding Mr. Chen’s inability to testify must reference the fact that

  ZHP affirmatively sought permission from the Chinese government to allow Mr.

  Chen to travel outside mainland China to provide a deposition and that permission

  was denied.

  Dated: May 31, 2024                     Respectfully submitted,

                                          By: /s/ Jessica Davidson
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                                          FLOM LLP
                                          Jessica Davidson (NY Bar No. 6034748)

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                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 31, 2024, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which will send

  a notice of electronic filing to all CM/ECF participants in this matter.

                                                 /s/ Jessica Davidson
                                                 Jessica Davidson




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